
PER CURIAM.
At the scene of a stabbing, the victim made a statement to a police officer as to the identity of the person who stabbed the victim. The victim died and the police officer was permitted at the trial of the defendant to testify as to the statement made by the victim. The defendant was convicted of murder and appeals.
The deceased victim’s statement to the police officer did not qualify for admission into evidence under the dying declaration exception to the hearsay rule but it was properly admitted under the res gestae exception to hearsay rule as explained in Monarca v. State, 412 So.2d 443 (Fla. 5th DCA 1982).
AFFIRMED.
GOSHORN, C.J., and COWART and DIAMANTIS, JJ., concur.
